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 1
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 5
     Attorney for Defendant
 6   BENJAMIN BUDOFF

 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                        No. 08-CR-116 KJM
13                     Plaintiff,
14          v.                                        REQUEST FOR TRAVEL FEES AND
                                                      PROPOSED ORDER
15   BENJAMIN BUDOFF,
16                     Defendant.
17

18          Defendant Benjamin Budoff, by and through his court appointed counsel, Dwight M.
19   Samuel, hereby applies to this Court for an order of subsistence allowance pursuant to Title 18
20
     U.S.C. section 4285, to allow for Mr. Budoff to travel to and from the February 26, 2014 Court
21
     appearance before the Honorable Kimberly J. Mueller District Court Judge. Mr. Budoff is
22
     scheduled to appear on Wednesday, February 26, 2014, at 9:00 a.m., on the 15 floor, Courtroom
23

24   3, of the Federal Courthouse located at 501 I Street, Sacramento, California, 95814.

25          Mr. Budoff resides Colorado Springs Colorado. Mr. Budoff is requesting, this court order

26   funding for travel from Colorado Springs, Colorado to Sacramento, California. Mr. Budoff would
27   travel on Tuesday, February 25 to meet with his investigators and attorney and then appear at
28
     9:00 a.m., on Wednesday, February 26, 2014, before the District Court.
                                                     1
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 1
            Mr. Budoff is requesting the court order payment for a return flight from Sacramento
 2
     California to Colorado Springs, Colorado.
 3
            In the interests of justice the Court is requested to direct the United States Marshal’s
 4

 5   Office to arrange for Benjamin Budoff’s means of non-custodial transportation or furnish the fare

 6   for such transportation as follows:

 7          1- On Tuesday, February 25, 2014, air fare from Colorado Springs, Colorado, to fly Mr.
 8
     Budoff to the Sacramento International Airport, then to provide transportation for Mr. Budoff
 9
     from the Sacramento International Airport to his lodging on Tuesday, February 25, 2014.
10
            2- On Wednesday, February 26, 2014, for transportation from the Federal Courthouse
11
     located at 501 I Street, Sacramento, California, 95814, to the Sacramento International Airport,
12

13   and for air fare to the Denver International Airport.

14          3- On Wednesday, February 26, 2014, for air fare from Sacramento, California, to fly Mr.
15   Budoff to Colorado Springs, Colorado.
16
            In addition, this Court is requested to direct the United States Marshall to furnish Mr.
17
     Budoff with an amount of money for subsistence expenses, not to exceed the amount authorized
18
     as a per diem allowance for travel under Title 5 U.S.C. section 4285(a) pursuant to Title 18
19

20   U.S.C. section 4285.

21

22          Date: February 7, 2014                                Respectfully submitted,
23                                                                    /s/ Dwight M. Samuel
24
                                                                  Dwight M. Samuel
25                                                                Attorney for Defendant
                                                                  Benjamin Budoff
26
27

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                                                       2
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 1
                                                 ORDER
 2
           GOOD CAUSE APPEARING AND IN THE INTERESTS OF JUSTICE
 3
           1. The court finds Mr. Budoff is indigent and financially unable to travel from Colorado
 4

 5             Springs, Colorado to Sacramento, California, and back, without transportation and

 6             lodging and subsistence expenses.

 7         2. Pursuant to Title 18 U.S.C. section 4285, the Court hereby ORDERS that the United
 8
               States Marshal for the Eastern District of California is authorized and directed to
 9
               furnish the above named defendant Benjamin Budoff with round trip
10
               transportation/and or funds as follows:
11
                  a.   On Tuesday, February 25, 2014, from Colorado Springs, Colorado, to the
12

13                     Sacramento International Airport, and thereafter to his lodging in Sacramento;

14                b.   On Wednesday, February 26, 2014, from the Federal Courthouse located at
15                     501 I Street, Sacramento, California, 95814, to the Sacramento International
16
                       Airport, and thereafter to Colorado Springs, Colorado.
17
           3. In addition, this Court ORDERS the United States Marshal to furnish Mr. Budoff with
18
               an amount of money for subsistence expenses, not to exceed the amount authorized as
19

20             a per diem allowance for travel under Title 5 U.S.C. section 4285(a) pursuant to Title

21             18 U.S.C. section 4285.

22   Dated: February 12, 2014
23
                                                    _____________________________________
24                                                  CAROLYN K. DELANEY
                                                    UNITED STATES MAGISTRATE JUDGE
25

26
27

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                                                     3
